Case 2:05-cV-02136-.]DB-tmp Document 6 Filed 07/05/05 Page 1 of 2 Page|D 14

IN THE UNITED sTATEs DISTRICT CoURT FOR THL‘B’ BY»-~%---M
wEsTERN DISTRICT oF TENNESSEE

wEsTERN nlvlsloN 05 Jm- '5 m 9‘ "3
ROBERT E.(“BOB”) GIVEN, ) MU“§%D;§YRMT
afb/a R.J.R. PAINTING, ) wm 0; m MEMpHS
Plaincifr, ) Case No. 2:05ev2136 B/P
v. )
)
R & R MANAGEMENT, LLC., )
)
Dei`endants. )

 

DEFAULT JUDGMENT

 

The defendant, R & R Managernent, LLC.,having failed to plead or otherwise defend in this
action, and default having heretofore been entered; upon application of plaintiff and upon affidavit
that defendant is liable for a statutory penalty of $88,773.00 plus reasonable courts costs; that
defendant had been defaulted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure; and

that the claim is for a sum certain or for a sum which can by computation be made certain.

This judgment is entered by the Clerk at the request of the plaintiff and upon affidavit that
said amount is due, in accordance with Rule 55(b)(1) of the Federal Rules of Civil Procedure.

Entered this 5th day of July, 2005.

Thornas M. Gould
Clerk of Court

By

 

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with Ftule 58 and,"or 79(a) FRCP on 2 312 ”Qo) §

 
 

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UNITED`TATES DSTCIRITCOURT- W

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
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July 5, 2005 to the parties listed.

 

 

Greg Hays

OZMENT COPELAND & HAYS
138 N. Third St.

2nd Floor

l\/lmephis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

